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                                    UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TENNESSEE


  AMERICAN SPIRIT AND CHEER ESSENTIALS,
  INC., ROCKSTAR CHAMPIONSHIPS, LLC, JEFF
  & CRAIG CHEER, LLC, d/b/a JEFF AND CRAIG
  CAMPS, and ASHLEY HAYGOOD, Individually
  and on Behalf of All Others Similarly Situated

                     Plaintiffs,                                Case No. 2:20-cv-02782-SHL-atc

            v.

  VARSITY BRANDS, LLC, BSN SPORTS, LLC,
  VARSITY SPIRIT, LLC, STANBURY, LLC,
  HERFF JONES, LLC, BAIN CAPITAL, LP,
  CHARLESBANK CAPITAL PARTNERS, LLC,
  VARSITY BRANDS HOLDING CO., INC.,
  VARSITY SPIRIT FASHION & SUPPLIES, LLC,
  U.S. ALL STAR FEDERATION, INC., USA
  FEDERATION FOR SPORT CHEERING, d/b/a
  USA CHEER, VARSITY INTROPA TOURS, LLC
  and JEFF WEBB,

                     Defendants.


                  USA CHEER’S RESPONSES TO PLAINTIFF'S REQUEST FOR
                    PRODUCTION OF DOCUMENTS TO ALL DEFENDANTS

          COMES NOW Defendant U.S.A. Federation for Sport Cheering, d/b/a USA Cheer (“USA

 Cheer”), by and through its counsel, and pursuant to Rule 34 of the Federal Rules of Civil

 Procedure, and the Local Civil Rules of the United States District Court (“Local Rules”), and

 responds to the Request for Production of Documents propounded by Plaintiffs as follows:

                  PRELIMINARY STATEMENT AND GENERAL OBJECTIONS

          1.        USA Cheer objects to Plaintiffs’ attempt to propound these Requests to it after the

 expiration of time for Plaintiffs to obtain discovery from USA Cheer. Specifically, in its Order

 Denying in Part and Granting in Part Plaintiffs’ Motion for Amended Scheduling Order (the


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 “Order”), this Court did not grant Plaintiffs leave to pursue additional discovery against USA

 Cheer.

          2.        USA Cheer has fully responded to all previously propounded written discovery

 from Plaintiffs and produced responsive documents in its possession and control. Plaintiffs are

 not entitled to obtain any more or other discovery from USA Cheer, including, without limitation,

 any additional requests for production or any interrogatories, requests for admission, or

 depositions.

          3.        The Order permits Plaintiffs to, at most, obtain from other parties discovery

 regarding “marching band uniforms, graduation regalia and other scholastic merchandise such as

 yearbooks and class rings, and athletic equipment.” ECF No. 236, at p. 4 n.2. The Court

 specifically limited any remaining cheerleading-related discovery to “discovery regarding athletic

 equipment or uniforms strictly used in the scholastic setting – including scholastic cheerleading.”

 Id. Therefore, all of these Requests from Plaintiffs’ and/or portions thereof relating to camps,

 competitions, and/or All Star cheer are impermissible subject matter, particularly in light of

 Plaintiffs’ inability to obtain any further discovery, regardless of the topic(s) thereof, from USA

 Cheer.

          4.        Because USA Cheer’s role in scholastic cheer is limited, and it does not

 manufacture or sell any “athletic equipment or uniforms” used in scholastic cheerleading, all of

 these Requests are objectionable in their entirety.

          5.        Notwithstanding the foregoing, for the sole purposes of preserving its objections to

 the Requests and stating in writing that it has no documents responsive to the Requests, USA Cheer

 will respond to the Requests as provided herein.




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          6.        USA Cheer generally objects to any Request, instruction, or definition to the extent

 that it requests information outside the scope of the Federal Rules of Civil Procedure or Local

 Rules of this Court, is prohibited by law, or attempts to impose a duty upon USA Cheer not

 contemplated by the rules or by law.

          7.        USA Cheer generally objects to providing any information or documents that may

 be protected from disclosure by the attorney-client privilege, by the work product doctrine, by any

 other privilege, by confidentiality and/or by any relevant law or statute.

          8.        USA Cheer generally objects to the extent the requested information or documents

 is irrelevant to the claims and defenses at issue and not proportional to the needs of the case.

          9.        USA Cheer generally objects to the extent the Requests are overly broad, vague,

 and/or ambiguous, particularly to the extent the Requests could be construed to seek discovery

 related to communications between USA Cheer and its attorneys. USA Cheer answers these

 Requests assuming that they do not seek such communications.

          10.       USA Cheer generally objects to the extent the Requests are unduly burdensome. In

 particular, USA Cheer objects to the Requests in their entirety because, as USA Cheer does not

 have any documents responsive to these Requests which it is required to produce, it would be

 unduly burdensome to require USA Cheer to incur the time, expense, and burden of conducting

 any searches of its electronically stored information (“ESI”), and reviewing that information only

 to confirm the absence of any such documents.

          11.       USA Cheer generally objects to the extent the Requests seek information and/or

 documents which reflect the policies of a person or entity other than USA Cheer, were generated

 by a person or entity other than USA Cheer, and/or may contain proprietary and/or confidential

 information of a person or entity other than USA Cheer.


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          12.       USA Cheer objects to the extent that the Requests assume facts and knowledge

 which are the subject of this lawsuit and which have not been proven in this case.

          13.       The Preliminary Statement and General Objections, as well as the below Objections

 to Definitions and Objections to Instructions, are applicable to each and every one of the following

 specific objections, answers, and responses, and failure to repeat an objection in answer to a

 specific Request shall not be deemed a waiver of the objection. Further, if USA Cheer specifically

 repeats one or more of these Objections to Definitions, Objections to Instructions, and/or General

 Objections in response to a specific Request, such specific objection shall not be a waiver of any

 other Objection.

          14.       USA Cheer reserves the right to interpose other objections, both general and

 specific, as applicable.

          15.       USA Cheer reserves the right to supplement, amend, alter, and/or modify its

 answers to Plaintiffs’ Requests.

                                  OBJECTIONS TO DEFINITIONS

          1.        USA CHEER objects to Plaintiffs’ purported definitions of “AACCA,” “IASF,”

 “NCA,” “NFHS,” “UCA,” “USA Cheer,” “USASF,” and “Varsity,” to the extent that such

 definitions purport to include any “predecessors, successors, subsidiaries, . . . and/or affiliates,” as

 such former or current related entities are not identified by Plaintiffs in their definitions, may not

 be readily identifiable by USA Cheer, are not parties to this action, and thus may not have any

 documents or information relevant to any claim or defense of any party to this action, such that

 even if USA Cheer could identify any related entities, any documents involving them and

 obtainable by USA Cheer, if any, are not discoverable under Rule 26 of the Federal Rules of Civil

 Procedure.


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          2.        USA Cheer objects to Plaintiffs’ purported definition of “agreement” to the extent

 that it purports to define that term by use of the term “contract,” which is a legal term of art with

 a specific legal meaning, to wit: the existence of mutual assent between parties supported by

 consideration, which is a conclusion of law and is not properly the subject of a party’s unilaterally

 imposed definition in these Requests. USA Cheer further objects to Plaintiffs’ purported definition

 of the term “agreement” to the extent that it purports to define that term by use of the nonlegal

 terms “arrangement” and “understanding,” which are themselves vague, undefined and reasonably

 susceptible to various interpretations.

          3.        USA Cheer objects to Plaintiffs’ purported definition of the terms “concerning,”

 “reflecting,” “regarding,” and “relating to” as being “used in the broadest possible sense” and

 being defined by a litany of other similar words and phrases, each of which is itself vague,

 undefined, and reasonably susceptible to various interpretations. As defined by Plaintiffs, the

 terms “concerning,” “reflecting,” “regarding,” and “relating to” have no discernible parameters

 and thus are objectionably vague and ambiguous.

          4.        USA Cheer objects to Plaintiffs’ purported definition of the term “Defendant” in

 Requests propounded to USA Cheer, to the extent that the Requests repeatedly use the plural

 “Defendants” to refer to all “Defendants” named in this lawsuit and, consequently, seek documents

 from USA Cheer that are within the possession and/or control of, and/or are more readily

 obtainable by, any other “Defendant” named in this lawsuit.

          5.        USA Cheer objects to Plaintiffs’ purported definition of the terms “Document” and

 “Records” to the extent they include any information or data in any form that is not readily

 obtainable by USA Cheer through reasonably practicable means, such that the Request using either

 term imposes an undue burden on USA Cheer due to the time, expense, effort, and other resources


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 required to retrieve them and prepare them for production.

          6.        USA Cheer objects to Plaintiffs’ purported definition of the term “School” to the

 extent it purports to encompass “school districts and state government entities,” which are

 indisputably not part of any “School” as that term operates in common usage to refer to a single,

 distinct entity, and to the extent it purports to encompass “all present and former officers,

 employees, agents, representatives, or any persons acting or authorized to act on their behalf,”

 whom Plaintiffs do not identify, and who are neither known to USA Cheer nor able to be identified

 by USA Cheer through a reasonable investigation.

          7.        USA Cheer objects to Plaintiffs’ purported definition of the term “School cheer

 competition” to the extent that it is vague because Plaintiffs purport to define it as including all

 competitions, including others not listed in Plaintiffs’ definition, that are “nationally recognized,”

 which phrase is itself undefined, subjective, vague, ambiguous, and reasonably susceptible to

 various interpretations.

          8.        USA Cheer objects to the time period and the definition of “Relevant Time Period.”

 Any request for documents after June 30, 2020 would be overly broad, unduly burdensome, and

 disproportionate to the needs of the case. USA Cheer interprets “Relevant Time Period” to mean

 January 1, 2015 to June 30, 2020.

          9.        USA Cheer objects to all of Plaintiffs’ purported definitions of all terms in the

 “DEFINITIONS” section of their Requests to the extent that they purport to impose any obligation

 on USA Cheer to provide any documents beyond those which are discoverable from USA Cheer

 pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure.

          10.       USA Cheer reserves its right to supplement and/or amend these objections if, in the

 course of discovery, it is made aware of any other legally valid bases for objecting to Plaintiffs’


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 purported and unilaterally imposed definitions.

                                  OBJECTIONS TO INSTRUCTIONS

          1.        USA Cheer objects to Plaintiffs’ Instructions to the extent that they are inconsistent

 with or attempt to broaden any of USA Cheer’s obligations under Rules 26 and 34 of the Federal

 Rules of Civil Procedure. This objection includes, without limitation, Plaintiffs’ impermissible

 instruction to “furnish . . . information” in USA Cheer’s possession or control in responding to the

 Requests. Pursuant to Rule 34, USA Cheer is only required to provide or permit Plaintiffs to

 inspect documents in its possession or control that are responsive to the Requests, if any. USA

 Cheer is not required to, and will not, furnish mere “information” not contained in responsive

 documents, if any, or create new documents with requested information. Plaintiffs cannot

 impermissibly use the Requests as an end-around means of propounding additional interrogatories

 under Rule 33.

          2.        USA Cheer objects to Plaintiffs’ Instructions to the extent that they attempt to direct

 USA Cheer to interpret any of the Requests in any particular way, including, without limitation,

 interpreting the Requests as broadly as possible, interpreting undefined words according to

 whatever definition will render additional documents responsive, and interpreting words in the

 singular to simultaneously be in the plural and vice versa. Plaintiffs bear the obligation to state

 Requests that identify the documents sought with reasonable particularity. See Fed. R. Civ. P.

 34(b)(1)(A). USA Cheer is not required to, and will not, assume this burden for Plaintiffs.

          3.        USA Cheer objects to Plaintiffs’ Instructions to the extent that they purport to

 require USA Cheer to identify any previously produced document(s) responsive to the Requests,

 if any. Plaintiffs have equal access to all documents produced by all parties in this case and can

 determine for themselves what previously produced documents are responsive to their Requests.


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          Subject to and without waiving the foregoing Preliminary Statement, General Objections,

 Objections to Definitions, and Objections to Instructions, above, USA Cheer makes the following

 responses and objections to Plaintiffs’ Request for Production of Documents:

                                REQUESTS FOR PRODUCTION

          REQUEST NO. 1:         Produce for inspection all IMPACT program agreements, VIP

 Branding agreements or New School Construction Program agreements entered with any junior

 high, high school or college from 2015 to the present. If you should answer that the requested

 documents have already been provided, then, in that event, please identify those records by

 referencing the bates stamp or ESI protocol numbers for the referenced documents that were

 already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to USA Cheer’s objection to the term “agreement.” USA Cheer objects to this Request

 on the basis that the terms “IMPACT program agreements,” “VIP Branding agreements,” and

 “New School Construction Program agreements” are undefined and USA Cheer cannot be certain

 as to what these terms are referring. USA Cheer objects to this Request to the extent that it seeks

 documents in the possession and/or control of “Defendants” other than USA Cheer, and/or

 documents that are more readily obtainable by other “Defendants,” such that the Request imposes

 an undue burden on USA Cheer because the same discovery, if any, can be more easily obtained

 from other parties to this lawsuit. USA Cheer objects to this Request to the extent it seeks

 information outside the scope of “marching band uniforms, graduation regalia and other scholastic

 merchandise such as yearbooks and class rings,” and “athletic equipment or uniforms strictly used

 in the scholastic setting – including scholastic cheerleading” on the basis that such Request is

 untimely and outside the permissible scope of the extended discovery period ordered by the Court.
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 USA Cheer objects to this Request as not properly limited in time to the extent it seems documents

 created outside the time period January 1, 2015 to June 30, 2020. Subject to and without waiving

 the foregoing objections, USA Cheer states that it is not aware of any documents responsive to this

 Request.

          REQUEST NO. 2:         Produce any records, dec presentations, sales presentations or

 documents that reflect the word “market share” relating to school sales of cheerleading uniforms,

 cheer shoes/sneakers or cheer merchandise or the business done by Defendants in the school

 market for cheer sales from 2015 to the present. If you should answer that the requested documents

 have already been provided, then, in that event, please identify those records by referencing the

 bates stamp or ESI protocol numbers for the referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “relating to” and “Defendants.” USA Cheer objects to

 this Request to the extent that it seeks documents in the possession and/or control of “Defendants”

 other than USA Cheer, and/or documents that are more readily obtainable by other “Defendants,”

 such that the Request imposes an undue burden on USA Cheer because the same discovery, if any,

 can be more easily obtained from other parties to this lawsuit. USA Cheer also objects to this

 Request because it is vague, as the term “presentations” is undefined and reasonably susceptible

 to various interpretations. USA Cheer objects to this Request to the extent that it overly broad and

 not proportional to the needs of the case, as documents are not necessarily relevant to any claim or

 defense of any party to this lawsuit merely because they “reflect” the phrase “market share.” USA

 Cheer objects to this Request to the extent it seeks information outside the scope of “marching

 band uniforms, graduation regalia and other scholastic merchandise such as yearbooks and class


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 rings,” and “athletic equipment or uniforms strictly used in the scholastic setting – including

 scholastic cheerleading” on the basis that such Request is untimely and outside the permissible

 scope of the extended discovery period ordered by the Court. USA Cheer objects to this Request

 as not properly limited in time to the extent it seems documents created outside the time period

 January 1, 2015 to June 30, 2020. Subject to and without waiving the foregoing objections, USA

 Cheer states that it is not aware of any documents responsive to this Request.

          REQUEST NO. 3: Produce any documents or records that establish any sponsorship

 agreements by Defendants of any state school athletic or coaches’ annual conventions or any

 conventions held by the National Federation of State High Schools (NFHS) from 2015 to the

 present. If you should answer that the requested documents have already been provided, then, in

 that event, please identify those records by referencing the bates stamp or ESI protocol numbers

 for the referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “agreements,” “NFHS,” and “Defendants.” USA Cheer

 objects to this Request to the extent that it seeks documents in the possession and/or control of

 “Defendants” other than USA Cheer, and/or documents that are more readily obtainable by other

 “Defendants,” such that the Request imposes an undue burden on USA Cheer because the same

 discovery, if any, can be more easily obtained from other parties to this lawsuit. USA Cheer objects

 to this Request to the extent it seeks information outside the scope of “marching band uniforms,

 graduation regalia and other scholastic merchandise such as yearbooks and class rings,” and

 “athletic equipment or uniforms strictly used in the scholastic setting – including scholastic

 cheerleading” on the basis that such Request is untimely and outside the permissible scope of the


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 extended discovery period ordered by the Court.         USA Cheer objects to this Request as not

 properly limited in time to the extent it seems documents created outside the time period January

 1, 2015 to June 30, 2020. Subject to and without waiving the foregoing objections, USA Cheer

 states that it is not aware of any documents responsive to this Request that would fall within the

 scope of “athletic equipment or uniforms strictly used in the scholastic setting – including

 scholastic cheerleading”.

          REQUEST NO. 4: Produce any documents or records that establish agreements between

 Defendants and the National Federation of State High Schools (NFHS) from 2015 to the present.

 If you should answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “agreements,” “NFHS,” and “Defendants.” USA Cheer

 objects to this Request to the extent that it seeks documents in the possession and/or control of

 “Defendants” other than USA Cheer, and/or documents that are more readily obtainable by other

 “Defendants,” such that the Request imposes an undue burden on USA Cheer because the same

 discovery, if any, can be more easily obtained from other parties to this lawsuit. USA Cheer

 objects to this Request to the extent it seeks information outside the scope of “marching band

 uniforms, graduation regalia and other scholastic merchandise such as yearbooks and class rings,”

 and “athletic equipment or uniforms strictly used in the scholastic setting – including scholastic

 cheerleading” on the basis that such Request is untimely and outside the permissible scope of the

 extended discovery period ordered by the Court. USA Cheer objects to this Request as not


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 properly limited in time to the extent it seems documents created outside the time period January

 1, 2015 to June 30, 2020. Subject to and without waiving the foregoing objections, USA Cheer

 states that it is not aware of any documents responsive to this Request that would fall within the

 scope of “marching band uniforms, graduation regalia and other scholastic merchandise such as

 yearbooks and class rings,” and “athletic equipment or uniforms strictly used in the scholastic

 setting – including scholastic cheerleading”.

          REQUEST NO. 5: Produce any letters authored by any of the Defendants threatening an

 individual competitor or business competitor with litigation, restraining order, injunction or other

 legal proceeding from 2015 to the present. If you should answer that the requested documents

 have already been provided, then, in that event, please identify those records by referencing the

 bates stamp or ESI protocol numbers for the referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the term “Defendants.” USA Cheer objects to this Request to the

 extent that it seeks documents in the possession and/or control of “Defendants” other than USA

 Cheer, and/or documents that are more readily obtainable by other “Defendants,” such that the

 Request imposes an undue burden on USA Cheer because the same discovery, if any, can be more

 easily obtained from other parties to this lawsuit. USA Cheer also objects to this Request because

 it is vague, as the terms “threatening” and “competitor” are undefined and reasonably susceptible

 to various interpretations. USA Cheer objects to this Request to the extent it seeks information

 outside the scope of “marching band uniforms, graduation regalia and other scholastic merchandise

 such as yearbooks and class rings,” and “athletic equipment or uniforms strictly used in the

 scholastic setting – including scholastic cheerleading” on the basis that such Request is untimely


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 and outside the permissible scope of the extended discovery period ordered by the Court. USA

 Cheer objects to this Request as not properly limited in time to the extent it seems documents

 created outside the time period January 1, 2015 to June 30, 2020. Subject to and without waiving

 the foregoing objections, USA Cheer states that it is not aware of any documents responsive to this

 Request that would fall within the scope of “marching band uniforms, graduation regalia and other

 scholastic merchandise such as yearbooks and class rings,” and “athletic equipment or uniforms

 strictly used in the scholastic setting – including scholastic cheerleading.”

          REQUEST NO. 6: Produce all records that discuss or relate to the school “Spirit Awards”

 referenced on Defendants web sites. If you should answer that the requested documents have

 already been provided, then, in that event, please identify those records by referencing the bates

 stamp or ESI protocol numbers for the referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “relating to” and “Defendants.” USA Cheer objects to this

 Request to the extent that it seeks documents in the possession and/or control of “Defendants”

 other than USA Cheer, and/or documents that are more readily obtainable by other “Defendants,”

 such that the Request imposes an undue burden on USA Cheer because the same discovery, if any,

 can be more easily obtained from other parties to this lawsuit. USA Cheer also objects to this

 Request to the extent that it overly broad and not proportional to the needs of the case, as

 documents are not necessarily relevant to any claim or defense of any party to this lawsuit merely

 because they “discuss” or “relate to” the general topic identified in the Request. Indeed, it is not

 clear that documents that “discuss” or “relate to” Spirit Awards would ever be relevant to any of

 the claims and defenses in this lawsuit. USA Cheer objects to this Request to the extent it seeks


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 information outside the scope of “marching band uniforms, graduation regalia and other scholastic

 merchandise such as yearbooks and class rings,” and “athletic equipment or uniforms strictly used

 in the scholastic setting – including scholastic cheerleading” on the basis that such Request is

 untimely and outside the permissible scope of the extended discovery period ordered by the Court.

 USA Cheer objects to this Request as not properly limited in time to the extent it seems documents

 created outside the time period January 1, 2015 to June 30, 2020. Subject to and without waiving

 the foregoing objections, USA Cheer states that it is not aware of any documents responsive to this

 Request.

          REQUEST NO. 7: Produce all sales records or sales documents for graduation regalia to

 include caps and gowns, class or championship rings, tassels or graduation announcements from

 2015 to the present. If you should answer that the requested documents have already been

 provided, then, in that event, please identify those records by referencing the bates stamp or ESI

 protocol numbers for the referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein. USA Cheer

 objects to this Request to the extent that it seeks documents in the possession and/or control of

 “Defendants” other than USA Cheer, and/or documents that are more readily obtainable by other

 “Defendants,” such that the Request imposes an undue burden on USA Cheer because the same

 discovery, if any, can be more easily obtained from other parties to this lawsuit. USA Cheer also

 objects to this Request because it is vague, as the term “graduation regalia” is undefined,

 reasonably susceptible to various interpretations, and it is not clear what it would include other

 than the items listed in this Request. USA Cheer therefor construes “graduation regalia” to mean

 caps and gowns, class or championship rings, tassels or graduation announcements. USA Cheer


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 objects to this Request to the extent it seeks information outside the scope of “marching band

 uniforms, graduation regalia and other scholastic merchandise such as yearbooks and class rings,”

 and “athletic equipment or uniforms strictly used in the scholastic setting – including scholastic

 cheerleading” on the basis that such Request is untimely and outside the permissible scope of the

 extended discovery period ordered by the Court. USA Cheer objects to this Request as not

 properly limited in time to the extent it seems documents created outside the time period January

 1, 2015 to June 30, 2020. Subject to and without waiving the foregoing objections, USA Cheer

 states that it is not aware of any documents responsive to this Request.

          REQUEST NO. 8: Produce all documents or records that reflect or show the names of

 the competitors of Defendants in the scholastic cheer market for the years 2016, 2017, 2018, 2019

 and 2020. If you should answer that the requested documents have already been provided, then,

 in that event, please identify those records by referencing the bates stamp or ESI protocol numbers

 for the referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “reflect” and “Defendants.” USA Cheer objects to this

 Request to the extent that it seeks documents in the possession and/or control of “Defendants”

 other than USA Cheer, and/or documents that are more readily obtainable by other “Defendants,”

 such that the Request imposes an undue burden on USA Cheer because the same discovery, if any,

 can be more easily obtained from other parties to this lawsuit. USA Cheer also objects to this

 Request because it is vague, as the term “competitors” and the phrase “scholastic cheer market”

 are undefined and reasonably susceptible to various interpretations. USA Cheer objects to this

 Request to the extent it seeks information outside the scope of “marching band uniforms,


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 graduation regalia and other scholastic merchandise such as yearbooks and class rings,” and

 “athletic equipment or uniforms strictly used in the scholastic setting – including scholastic

 cheerleading” on the basis that such Request is untimely and outside the permissible scope of the

 extended discovery period ordered by the Court. USA Cheer objects to this Request as not

 properly limited in time to the extent it seems documents created outside the time period January

 1, 2015 to June 30, 2020. Subject to and without waiving the foregoing objections, USA Cheer

 states that it is not aware of any documents responsive to this Request.

          REQUEST NO. 9: Produce all records or documents that evidence or show due diligence

 for the acquisition of any of the Defendants school related businesses by Bain (or any subdivision

 of Bain Capital). If you should answer that the requested documents have already been provided,

 then, in that event, please identify those records by referencing the bates stamp or ESI protocol

 numbers for the referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “school” and “Defendants.” USA Cheer objects to this

 Request to the extent that it seeks documents in the possession and/or control of “Defendants”

 other than USA Cheer, and/or documents that are more readily obtainable by other “Defendants,”

 such that the Request imposes an undue burden on USA Cheer because the same discovery, if any,

 can be more easily obtained from other parties to this lawsuit. USA Cheer also objects to this

 Request because it is vague, as the term “related” and the phrase “due diligence” are undefined

 and reasonably susceptible to various interpretations. USA Cheer objects to this Request to the

 extent it seeks information outside the scope of “marching band uniforms, graduation regalia and

 other scholastic merchandise such as yearbooks and class rings,” and “athletic equipment or


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 uniforms strictly used in the scholastic setting – including scholastic cheerleading” on the basis

 that such Request is untimely and outside the permissible scope of the extended discovery period

 ordered by the Court. USA Cheer objects to this Request as not properly limited in time to the

 extent it seems documents created outside the time period January 1, 2015 to June 30, 2020.

 Subject to and without waiving the foregoing objections, USA Cheer states that it is not aware of

 any documents responsive to this Request.

          REQUEST NO. 10: Produce all records or documents that mention or reflect anything

 regarding Defendants competitor N’finity in the school cheer market from 2015 to the present. If

 you should answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “reflecting” and “Defendants.” USA Cheer objects to this

 Request to the extent that it seeks documents in the possession and/or control of “Defendants”

 other than USA Cheer, and/or documents that are more readily obtainable by other “Defendants,”

 such that the Request imposes an undue burden on USA Cheer because the same discovery, if any,

 can be more easily obtained from other parties to this lawsuit. USA Cheer also objects to this

 Request because it is vague, as the term “competitor” and the phrase “school cheer market” are

 undefined and reasonably susceptible to various interpretations. USA Cheer objects to this

 Request to the extent that it overly broad and not proportional to the needs of the case, as

 documents are not necessarily relevant to any claim or defense of any party to this lawsuit merely

 because they “mention or reflect anything regarding . . . N’finity.” USA Cheer objects to this


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 Request to the extent it seeks information outside the scope of “marching band uniforms,

 graduation regalia and other scholastic merchandise such as yearbooks and class rings,” and

 “athletic equipment or uniforms strictly used in the scholastic setting – including scholastic

 cheerleading” on the basis that such Request is untimely and outside the permissible scope of the

 extended discovery period ordered by the Court. USA Cheer objects to this Request as not

 properly limited in time to the extent it seems documents created outside the time period January

 1, 2015 to June 30, 2020. Subject to and without waiving the foregoing objections, USA Cheer

 states that it is not aware of any documents responsive to this Request that would fall within the

 scope of “marching band uniforms, graduation regalia and other scholastic merchandise such as

 yearbooks and class rings,” or “athletic equipment or uniforms strictly used in the scholastic setting

 – including scholastic cheerleading.”

          REQUEST NO. 11: Produce all records or documents that mention or reflect anything

 regarding Defendants competitor Rebel in the school cheer market from 2015 to the present. If

 you should answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “reflecting” and “Defendants.” USA Cheer objects to this

 Request to the extent that it seeks documents in the possession and/or control of “Defendants”

 other than USA Cheer, and/or documents that are more readily obtainable by other “Defendants,”

 such that the Request imposes an undue burden on USA Cheer because the same discovery, if any,

 can be more easily obtained from other parties to this lawsuit. USA Cheer also objects to this


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 Request because it is vague, as the term “competitor” and the phrase “school cheer market” are

 undefined and reasonably susceptible to various interpretations. USA Cheer objects to this

 Request to the extent that it overly broad and not proportional to the needs of the case, as

 documents are not necessarily relevant to any claim or defense of any party to this lawsuit merely

 because they “mention or reflect anything regarding . . . Rebel.” USA Cheer objects to this Request

 to the extent it seeks information outside the scope of “marching band uniforms, graduation regalia

 and other scholastic merchandise such as yearbooks and class rings,” and “athletic equipment or

 uniforms strictly used in the scholastic setting – including scholastic cheerleading” on the basis

 that such Request is untimely and outside the permissible scope of the extended discovery period

 ordered by the Court. USA Cheer objects to this Request as not properly limited in time to the

 extent it seems documents created outside the time period January 1, 2015 to June 30, 2020.

 Subject to and without waiving the foregoing objections, USA Cheer states that it is not aware of

 any documents responsive to this Request that would fall within the scope of “marching band

 uniforms, graduation regalia and other scholastic merchandise such as yearbooks and class rings,”

 or “athletic equipment or uniforms strictly used in the scholastic setting – including scholastic

 cheerleading.”

          REQUEST NO. 12: Produce all records or documents that mention or reflect anything

 regarding Defendants competitor NIKE in the school cheer market from 2015 to the present. If

 you should answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but


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 not limited to its objections to the terms “reflecting” and “Defendants.” USA Cheer objects to this

 Request to the extent that it seeks documents in the possession and/or control of “Defendants”

 other than USA Cheer, and/or documents that are more readily obtainable by other “Defendants,”

 such that the Request imposes an undue burden on USA Cheer because the same discovery, if any,

 can be more easily obtained from other parties to this lawsuit. USA Cheer also objects to this

 Request because it is vague, as the term “competitor” and the phrase “school cheer market” are

 undefined and reasonably susceptible to various interpretations. USA Cheer objects to this

 Request to the extent that it overly broad and not proportional to the needs of the case, as

 documents are not necessarily relevant to any claim or defense of any party to this lawsuit merely

 because they “mention or reflect anything regarding . . . NIKE.” USA Cheer objects to this

 Request to the extent it seeks information outside the scope of “marching band uniforms,

 graduation regalia and other scholastic merchandise such as yearbooks and class rings,” and

 “athletic equipment or uniforms strictly used in the scholastic setting – including scholastic

 cheerleading” on the basis that such Request is untimely and outside the permissible scope of the

 extended discovery period ordered by the Court. USA Cheer objects to this Request as not

 properly limited in time to the extent it seems documents created outside the time period January

 1, 2015 to June 30, 2020. Subject to and without waiving the foregoing objections, USA Cheer

 states that it is not aware of any documents responsive to this Request that would fall within the

 scope of “marching band uniforms, graduation regalia and other scholastic merchandise such as

 yearbooks and class rings,” or “athletic equipment or uniforms strictly used in the scholastic setting

 – including scholastic cheerleading.”

          REQUEST NO. 13: Produce all records or documents that mention or reflect anything

 regarding any other competitor of Defendants in the school cheer market from 2015 to the present.


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 If you should answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “reflecting” and “Defendants.” USA Cheer objects to this

 Request to the extent that it seeks documents in the possession and/or control of “Defendants”

 other than USA Cheer, and/or documents that are more readily obtainable by other “Defendants,”

 such that the Request imposes an undue burden on USA Cheer because the same discovery, if any,

 can be more easily obtained from other parties to this lawsuit. USA Cheer also objects to this

 Request because it is vague, as the term “competitor” and the phrase “school cheer market” are

 undefined and reasonably susceptible to various interpretations. USA Cheer objects to this

 Request to the extent that it overly broad and not proportional to the needs of the case, as

 documents are not necessarily relevant to any claim or defense of any party to this lawsuit merely

 because they “mention or reflect anything regarding any other competitor.” USA Cheer objects to

 this Request to the extent it seeks information outside the scope of “marching band uniforms,

 graduation regalia and other scholastic merchandise such as yearbooks and class rings,” and

 “athletic equipment or uniforms strictly used in the scholastic setting – including scholastic

 cheerleading” on the basis that such Request is untimely and outside the permissible scope of the

 extended discovery period ordered by the Court. USA Cheer objects to this Request as not

 properly limited in time to the extent it seems documents created outside the time period January

 1, 2015 to June 30, 2020. Subject to and without waiving the foregoing objections, USA Cheer

 states that it is not aware of any documents responsive to this Request that would fall within the


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 scope of “marching band uniforms, graduation regalia and other scholastic merchandise such as

 yearbooks and class rings,” or “athletic equipment or uniforms strictly used in the scholastic setting

 – including scholastic cheerleading.”

          REQUEST NO. 14: Produce any records or documents that mention or reflect any school

 cheer related sales made by Defendants for the years 2016, 2017, 2018, 2019 or 2020. If you

 should answer that the requested documents have already been provided, then, in that event, please

 identify those records by referencing the bates stamp or ESI protocol numbers for the referenced

 documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “reflecting,” “school,” and “Defendants.” USA Cheer

 objects to this Request to the extent that it seeks documents in the possession and/or control of

 “Defendants” other than USA Cheer, and/or documents that are more readily obtainable by other

 “Defendants,” such that the Request imposes an undue burden on USA Cheer because the same

 discovery, if any, can be more easily obtained from other parties to this lawsuit. USA Cheer also

 objects to this Request because it is vague, as the term “related” is undefined and reasonably

 susceptible to various interpretations. USA Cheer objects to this Request to the extent that it overly

 broad and not proportional to the needs of the case, as documents are not relevant to any claim or

 defense of any party to this lawsuit merely because they “mention or reflect” the general topic

 referenced in this Request. USA Cheer objects to this Request to the extent it seeks information

 outside the scope of “marching band uniforms, graduation regalia and other scholastic merchandise

 such as yearbooks and class rings,” and “athletic equipment or uniforms strictly used in the

 scholastic setting – including scholastic cheerleading” on the basis that such Request is untimely


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 and outside the permissible scope of the extended discovery period ordered by the Court. USA

 Cheer objects to this Request as not properly limited in time to the extent it seems documents

 created outside the time period January 1, 2015 to June 30, 2020. Subject to and without waiving

 the foregoing objections, USA Cheer states that it is not aware of any documents responsive to this

 Request.

          REQUEST NO. 15: Produce any records or documents that mention or reflect American

 Spirit and Cheer Essentials, Inc., Rockstar Championships, LLC or Jeff & Craig Cheer, LLC, d/b/a

 Jeff and Craig Camps from 2015 to the present. If you should answer that the requested documents

 have already been provided, then, in that event, please identify those records by referencing the

 bates stamp or ESI protocol numbers for the referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the term “reflecting.” USA Cheer objects to this Request to the

 extent it seeks documents protected from disclosure by the attorney-client privilege and/or the

 work product doctrine, including the common interest and joint defense privileges. USA Cheer

 objects to this Request to the extent that it seeks documents in the possession and/or control of

 “Defendants” other than USA Cheer, and/or documents that are more readily obtainable by other

 “Defendants,” such that the Request imposes an undue burden on USA Cheer because the same

 discovery, if any, can be more easily obtained from other parties to this lawsuit. USA Cheer

 objects to this Request to the extent it seeks information outside the scope of “marching band

 uniforms, graduation regalia and other scholastic merchandise such as yearbooks and class rings,”

 and “athletic equipment or uniforms strictly used in the scholastic setting – including scholastic

 cheerleading” on the basis that such Request is untimely and outside the permissible scope of the


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 extended discovery period ordered by the Court. USA Cheer objects to this Request as not

 properly limited in time to the extent it seems documents created outside the time period January

 1, 2015 to June 30, 2020. Subject to and without waiving the foregoing objections, USA Cheer

 states that it is not aware of any documents responsive to this Request that would fall within the

 scope of “marching band uniforms, graduation regalia and other scholastic merchandise such as

 yearbooks and class rings,” or “athletic equipment or uniforms strictly used in the scholastic setting

 – including scholastic cheerleading.”

          REQUEST NO. 16: Produce any records or documents that mention or reflect any school

 camp related sales made by Defendants for the years 2016, 2017, 2018, 2019 or 2020. If you

 should answer that the requested documents have already been provided, then, in that event, please

 identify those records by referencing the bates stamp or ESI protocol numbers for the referenced

 documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “reflecting,” “school,” and “Defendants.” USA Cheer

 objects to this Request to the extent that it seeks documents in the possession and/or control of

 “Defendants” other than USA Cheer, and/or documents that are more readily obtainable by other

 “Defendants,” such that the Request imposes an undue burden on USA Cheer because the same

 discovery, if any, can be more easily obtained from other parties to this lawsuit. USA Cheer also

 objects to this Request because it is vague, as the term “related” is undefined and reasonably

 susceptible to various interpretations. USA Cheer objects to this Request to the extent that it overly

 broad and not proportional to the needs of the case, as documents are not necessarily relevant to

 any claim or defense of any party to this lawsuit merely because they “mention or reflect” the


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 general topic referenced in this Request. USA Cheer objects to this Request to the extent it seeks

 information outside the scope of “marching band uniforms, graduation regalia and other scholastic

 merchandise such as yearbooks and class rings,” and “athletic equipment or uniforms strictly used

 in the scholastic setting – including scholastic cheerleading” on the basis that such Request is

 untimely and outside the permissible scope of the extended discovery period ordered by the Court.

 USA Cheer objects to this Request as not properly limited in time to the extent it seems documents

 created outside the time period January 1, 2015 to June 30, 2020. Subject to and without waiving

 the foregoing objections, USA Cheer states that it is not aware of any documents responsive to this

 Request.

          REQUEST NO. 17: Produce any records or documents that mention or reflect any school

 cheer competition related sales made by Defendants for the years 2016, 2017, 2018, 2019 or 2020.

 If you should answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “reflecting” and “Defendants.” USA Cheer objects to this

 Request to the extent that it seeks documents in the possession and/or control of “Defendants”

 other than USA Cheer, and/or documents that are more readily obtainable by other “Defendants,”

 such that the Request imposes an undue burden on USA Cheer because the same discovery, if any,

 can be more easily obtained from other parties to this lawsuit. USA Cheer also objects to this

 Request because it is vague, as the term “related” is undefined and reasonably susceptible to

 various interpretations. USA Cheer objects to this Request to the extent that it overly broad and


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 not proportional to the needs of the case, as documents are not necessarily relevant to any claim or

 defense of any party to this lawsuit merely because they “mention or reflect” the general topic

 referenced in this Request. USA Cheer objects to this Request to the extent it seeks information

 outside the scope of “marching band uniforms, graduation regalia and other scholastic merchandise

 such as yearbooks and class rings,” and “athletic equipment or uniforms strictly used in the

 scholastic setting – including scholastic cheerleading” on the basis that such Request is untimely

 and outside the permissible scope of the extended discovery period ordered by the Court. USA

 Cheer objects to this Request as not properly limited in time to the extent it seems documents

 created outside the time period January 1, 2015 to June 30, 2020. Subject to and without waiving

 the foregoing objections, USA Cheer states that it is not aware of any documents responsive to this

 Request.

          REQUEST NO. 18: Produce any records or documents that mention or reflect annual

 sales figures for Allstar cheer uniforms, sneakers, or cheer merchandise for the years 2016, 2017,

 2018, 2019 or 2020. If you should answer that the requested documents have already been

 provided, then, in that event, please identify those records by referencing the bates stamp or ESI

 protocol numbers for the referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the term “reflecting.” USA Cheer objects to this Request to the

 extent that it seeks documents in the possession and/or control of “Defendants” other than USA

 Cheer, and/or documents that are more readily obtainable by other “Defendants,” such that the

 Request imposes an undue burden on USA Cheer because the same discovery, if any, can be more

 easily obtained from other parties to this lawsuit. USA Cheer also objects to this Request because


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 it is vague, as the term “figures” is undefined and reasonably susceptible to various interpretations.

 USA Cheer objects to this Request to the extent that it overly broad and not proportional to the

 needs of the case, as documents are not necessarily relevant to any claim or defense of any party

 to this lawsuit merely because they “mention or reflect” the general topic referenced in this

 Request. USA Cheer objects to this Request to the extent it seeks information outside the scope

 of “marching band uniforms, graduation regalia and other scholastic merchandise such as

 yearbooks and class rings,” and “athletic equipment or uniforms strictly used in the scholastic

 setting – including scholastic cheerleading” on the basis that such Request is untimely and outside

 the permissible scope of the extended discovery period ordered by the Court. USA Cheer objects

 to this Request as not properly limited in time to the extent it seems documents created outside the

 time period January 1, 2015 to June 30, 2020. Subject to and without waiving the foregoing

 objections, USA Cheer states that it is not aware of any documents responsive to this Request.

          REQUEST NO. 19: Produce any records or documents that mention or reflect annual

 sales figures for school cheer uniforms, sneakers, or cheer merchandise for the years 2016, 2017,

 2018, 2019 or 2020. If you should answer that the requested documents have already been

 provided, then, in that event, please identify those records by referencing the bates stamp or ESI

 protocol numbers for the referenced documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “reflecting” and “school.” USA Cheer objects to this

 Request to the extent that it seeks documents in the possession and/or control of “Defendants”

 other than USA Cheer, and/or documents that are more readily obtainable by other “Defendants,”

 such that the Request imposes an undue burden on USA Cheer because the same discovery, if any,


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 can be more easily obtained from other parties to this lawsuit. USA Cheer also objects to this

 Request because it is vague, as the terms “figures” and “merchandise” are undefined and

 reasonably susceptible to various interpretations. USA Cheer interprets “merchandise” to include

 only athletic equipment or uniforms used strictly for scholastic cheer, as set forth in the Court’s

 Order. USA Cheer objects to this Request to the extent that it overly broad and not proportional

 to the needs of the case, as documents are not necessarily relevant to any claim or defense of any

 party to this lawsuit merely because they “mention or reflect” the general topic referenced in this

 Request. USA Cheer objects to this Request as not properly limited in time to the extent it seems

 documents created outside the time period January 1, 2015 to June 30, 2020. Subject to and

 without waiving the foregoing objection, USA Cheer states that it is not aware of any documents

 responsive to this Request.

          REQUEST NO. 20: Produce any records or documents that mention or reflect annual

 sales figures for Allstar cheer competitions for the years 2016, 2017, 2018, 2019 or 2020. If you

 should answer that the requested documents have already been provided, then, in that event, please

 identify those records by referencing the bates stamp or ESI protocol numbers for the referenced

 documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the term “reflecting.” USA Cheer objects to this Request to the

 extent that it seeks documents in the possession and/or control of “Defendants” other than USA

 Cheer, and/or documents that are more readily obtainable by other “Defendants,” such that the

 Request imposes an undue burden on USA Cheer because the same discovery, if any, can be more

 easily obtained from other USA Cheer objects to this Request to the extent that it overly broad and


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 not proportional to the needs of the case, as documents are not necessarily relevant to any claim or

 defense of any party to this lawsuit merely because they “mention or reflect” the general topic

 referenced in this Request. USA Cheer objects to this Request to the extent it seeks information

 outside the scope of “marching band uniforms, graduation regalia and other scholastic merchandise

 such as yearbooks and class rings,” and “athletic equipment or uniforms strictly used in the

 scholastic setting – including scholastic cheerleading” on the basis that such Request is untimely

 and outside the permissible scope of the extended discovery period ordered by the Court. USA

 Cheer objects to this Request as not properly limited in time to the extent it seems documents

 created outside the time period January 1, 2015 to June 30, 2020. Subject to and without waiving

 the foregoing objections, USA Cheer states that it is not aware of any documents responsive to this

 Request.

          REQUEST NO. 21: Produce any records or documents that mention or reflect annual

 sales figures for school cheer competitions for the years 2016, 2017, 2018, 2019 or 2020. If you

 should answer that the requested documents have already been provided, then, in that event, please

 identify those records by referencing the bates stamp or ESI protocol numbers for the referenced

 documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “reflecting” and “school.” USA Cheer objects to this

 Request to the extent that it seeks documents in the possession and/or control of “Defendants”

 other than USA Cheer, and/or documents that are more readily obtainable by other “Defendants,”

 such that the Request imposes an undue burden on USA Cheer because the same discovery, if any,

 can be more easily obtained from other parties to this lawsuit. USA Cheer also objects to this


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 Request because it is vague, as the term “figures” is undefined and reasonably susceptible to

 various interpretations. USA Cheer objects to this Request to the extent that it overly broad and

 not proportional to the needs of the case, as documents are not necessarily relevant to any claim or

 defense of any party to this lawsuit merely because they “mention or reflect” the general topic

 referenced in this Request. USA Cheer objects to this Request to the extent it seeks information

 outside the scope of “marching band uniforms, graduation regalia and other scholastic merchandise

 such as yearbooks and class rings,” and “athletic equipment or uniforms strictly used in the

 scholastic setting – including scholastic cheerleading” on the basis that such Request is untimely

 and outside the permissible scope of the extended discovery period ordered by the Court. USA

 Cheer objects to this Request as not properly limited in time to the extent it seems documents

 created outside the time period January 1, 2015 to June 30, 2020. Subject to and without waiving

 the foregoing objections, USA Cheer states that it is not aware of any documents responsive to this

 Request.

          REQUEST NO. 22: Produce any records or documents that mention or reflect annual

 sales figures for school cheer camps for the years 2016, 2017, 2018, 2019 or 2020. If you should

 answer that the requested documents have already been provided, then, in that event, please

 identify those records by referencing the bates stamp or ESI protocol numbers for the referenced

 documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “reflecting” and “school.” USA Cheer objects to this

 Request to the extent that it seeks documents in the possession and/or control of “Defendants”

 other than USA Cheer, and/or documents that are more readily obtainable by other “Defendants,”


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 such that the Request imposes an undue burden on USA Cheer because the same discovery, if any,

 can be more easily obtained from other parties to this lawsuit. USA Cheer also objects to this

 Request because it is vague, as the term “figures” is undefined and reasonably susceptible to

 various interpretations. USA Cheer objects to this Request to the extent that it overly broad and

 not proportional to the needs of the case, as documents are not necessarily relevant to any claim or

 defense of any party to this lawsuit merely because they “mention or reflect” the general topic

 referenced in this Request. USA Cheer objects to this Request to the extent it seeks information

 outside the scope of “marching band uniforms, graduation regalia and other scholastic merchandise

 such as yearbooks and class rings,” and “athletic equipment or uniforms strictly used in the

 scholastic setting – including scholastic cheerleading” on the basis that such Request is untimely

 and outside the permissible scope of the extended discovery period ordered by the Court. USA

 Cheer objects to this Request as not properly limited in time to the extent it seems documents

 created outside the time period January 1, 2015 to June 30, 2020. Subject to and without waiving

 the foregoing objections, USA Cheer states that it is not aware of any documents responsive to this

 Request.

          REQUEST NO. 23: Produce any records or documents that mention or reflect annual

 sales figures for Allstar cheer camps for the years 2016, 2017, 2018, 2019 or 2020. If you should

 answer that the requested documents have already been provided, then, in that event, please

 identify those records by referencing the bates stamp or ESI protocol numbers for the referenced

 documents that were already produced.

          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the term “reflecting.” USA Cheer objects to this Request to the


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 extent that it seeks documents in the possession and/or control of “Defendants” other than USA

 Cheer, and/or documents that are more readily obtainable by other “Defendants,” such that the

 Request imposes an undue burden on USA Cheer because the same discovery, if any, can be more

 easily obtained from other parties to this lawsuit. USA Cheer also objects to this Request because

 it is vague, as the term “figures” is undefined and reasonably susceptible to various interpretations.

 USA Cheer objects to this Request to the extent that it overly broad and not proportional to the

 needs of the case, as documents are not necessarily relevant to any claim or defense of any party

 to this lawsuit merely because they “mention or reflect” the general topic referenced in this

 Request. USA Cheer objects to this Request to the extent it seeks information outside the scope

 of “marching band uniforms, graduation regalia and other scholastic merchandise such as

 yearbooks and class rings,” and “athletic equipment or uniforms strictly used in the scholastic

 setting – including scholastic cheerleading” on the basis that such Request is untimely and outside

 the permissible scope of the extended discovery period ordered by the Court. USA Cheer objects

 to this Request as not properly limited in time to the extent it seems documents created outside the

 time period January 1, 2015 to June 30, 2020. Subject to and without waiving the foregoing

 objections, USA Cheer states that it is not aware of any documents responsive to this Request.

          REQUEST NO. 24: Produce any records or documents that mention or reflect annual

 sales figures for school class rings, competition rings, caps and gowns, tassels, and/or graduation

 regalia for the years 2016, 2017, 2018, 2019 or 2020. If you should answer that the requested

 documents have already been provided, then, in that event, please identify those records by

 referencing the bates stamp or ESI protocol numbers for the referenced documents that were

 already produced.




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          RESPONSE: USA Cheer incorporates all of the General Objections, Objections to

 Definitions, and Objections to Instructions set forth above as if fully restated herein, including but

 not limited to its objections to the terms “reflecting” and “school.” USA Cheer objects to this

 Request to the extent that it seeks documents in the possession and/or control of “Defendants”

 other than USA Cheer, and/or documents that are more readily obtainable by other “Defendants,”

 such that the Request imposes an undue burden on USA Cheer because the same discovery, if any,

 can be more easily obtained from other parties to this lawsuit. USA Cheer also objects to this

 Request because it is vague, as the term “figures” and the phrase “graduation regalia” are undefined

 and reasonably susceptible to various interpretations. USA Cheer objects to this Request to the

 extent that it overly broad and not proportional to the needs of the case, as documents are not

 necessarily relevant to any claim or defense of any party to this lawsuit merely because they

 “mention or reflect” the general topic referenced in this Request. USA Cheer objects to this

 Request to the extent it seeks information outside the scope of “marching band uniforms,

 graduation regalia and other scholastic merchandise such as yearbooks and class rings,” and

 “athletic equipment or uniforms strictly used in the scholastic setting – including scholastic

 cheerleading” on the basis that such Request is untimely and outside the permissible scope of the

 extended discovery period ordered by the Court. USA Cheer objects to this Request as not

 properly limited in time to the extent it seems documents created outside the time period January

 1, 2015 to June 30, 2020. Subject to and without waiving the foregoing objections, USA Cheer

 states that it is not aware of any documents responsive to this Request.




  September 23, 2022

                                                Respectfully submitted,

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                                             /s/ Nicole Berkowitz Riccio
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                                             Attorneys for U.S. All Star Federation, Inc.;
                                             USA Federation for Sport Cheering, d/b/a USA Cheer



                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on September 23, 2022, a true and correct copy of
 the foregoing was forwarded via the Court’s ECF system and/or by email to all counsel of record.

                                             /s/ Nicole Berkowitz Riccio




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